           Case 1:19-cr-00018-ABJ Document 263 Filed 11/20/19 Page 1 of 3



                         1IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                   Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

                 Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

                              MOTION FOR PERMISSION TO TRAVEL

          Defendant, Roger J. Stone, Jr., files this Motion to request permission to travel with his

family for the Thanksgiving holiday to Orange Park, Florida, located within the Middle District

of Florida, from November 27, 2019 until December 1, 2019.

          Orange Park is a town located in the Middle District of Florida.         It is outside the

permitted travel in the Southern District of Florida. Counsel has communicated with Mr. Stone’s

Pretrial Services Officer who has stated Pretrial Services has no objection to the filing of this

motion and requested their office be kept advised of the Court’s ruling.     Mr.     Stone      will

provide Pretrial Services with a detailed itinerary and supporting documentation. Mr. Stone will

contact his Officer upon his return.

          The Government has been has also been contacted and has no objection to the relief

sought.
         Case 1:19-cr-00018-ABJ Document 263 Filed 11/20/19 Page 2 of 3




                                        Respectfully submitted,
                                        By: /s/___________________
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                                       2
         Case 1:19-cr-00018-ABJ Document 263 Filed 11/20/19 Page 3 of 3




                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on November 20, 2019, I electronically filed the foregoing

with the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day

on all counsel of record or pro se parties, via transmission of Notices of Electronic Filing

generated by CM/ECF.

   United States Attorney’s Office for the              Pretrial Services (via email)
           District of Columbia
                                                CHRISTINE SCHUCK
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                                                   By: /s/ Robert Buschel
                                                   ROBERT BUSCHEL




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